Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 1 of 82
                                                                  1


                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT

      - - - - - - - - - - - - - - - - x

      IN RE:                              :
                                          :   No. 3:14-MD-2516 (SRU)
                                          :   915 Lafayette Boulevard
                                          :   Bridgeport, Connecticut
                                          :
                                          :   September 24, 2015
      AGGRENOX ANTITRUST LITIGATION       :

      - - - - - - - - - - - - - - - - x


                              MOTIONS HEARING


      B E F O R E:

            THE HONORABLE STEFAN R. UNDERHILL, U. S. D. J.



      A P P E A R A N C E S:

           FOR THE PLAINTIFFS:

                     MOTLEY RICE LLC
                      One Corporate Center, 17th Floor
                      20 Church Street
                      Hartford, Connecticut 06103
                  BY: MICHAEL M. BUCHMAN, ESQ.

                  HILLIARD SHADOWEN LLC
                       39 West Main Street
                       Mechanicsburg, Pennsylvania       17055
                  BY: STEVE D. SHADOWEN, ESQ.
                       D. SEAN NATION, ESQ.

                  LOWEY DANNENBERG COHEN & HART, P.C.
                          One North Broadway
                       White Plains, New York 10601
                  BY: PETER ST. PHILLIP, ESQ.
                       URIEL RABINOVITZ, ESQ.
                       NOELLE RUGGIERO, ESQ.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 2 of 82
                                                                  2


                  GARWIN GERSTEIN & FISHER, LLP
                       Wall Street Plaza
                       88 Pine Street, 2nd Floor
                       New York, New York 10005
                  BY: EPHRAIM R. GERSTEIN, ESQ.


           FOR THE DEFENDANTS:

                     WHITE & CASE
                       1155 Avenue of the Americas
                       New York, New York 10036-2787
                  BY: ROBERT A. MILNE, ESQ.
                       ALISON HANSTEAD, ESQ.
                       JACLYN EPSTEIN, ESQ.

                  GOODWIN PROCTOR
                       Exchange Place
                       Boston, Massachusetts 02109
                  BY: CHRISTOPHER T. HOLDING, ESQ.

                  PULLMAN & COMLEY LLC
                       850 Main Street
                       P.O. Box 7006
                       Bridgeport, Connecticut       06601-7006
                  BY: JAMES T. SHEARIN, ESQ.

                  DAY PITNEY LLP
                       242 Trumbull Street
                       Hartford, Connecticut 06103-1212
                  BY: BRYAN J. ORTICELLI, ESQ.




                         Sharon L. Masse, RMR, CRR
                          Official Court Reporter
                          915 Lafayette Boulevard
                      Bridgeport, Connecticut 06604
                             Tel: (917)703-0761
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 3 of 82
                                                                   3


 1               THE COURT:    Good afternoon.    I assume everyone

 2    has provided their appearances to the court reporter.

 3               MR. MILNE:    Yes, sir.

 4               THE COURT:    All right.    Let me just, if I could,

 5    be reminded of the names of who's going to be arguing.

 6               MR. BUCHMAN:    Good afternoon, Your Honor.

 7    Michael Buchman from Motley Rice.       We are counsel for the

 8    end-payor plaintiffs, and with me today are Mr. Sean

 9    Nation from Hilliard & Shadowen and Mr. Steve Shadowen

10    from Hilliard & Shadowen.      Mr. Shadowen will be arguing

11    for the end-payor plaintiffs this afternoon.

12               THE COURT:    All right, thank you.

13               MR. ST. PHILLIP:      Good afternoon, Your Honor.

14    Peter St. Phillip.     With me is Uriel Rabinovitz from Lowey

15    Dannenberg on behalf of Humana, Inc., and Mr. Rabinovitz

16    will be arguing today.

17               THE COURT:    Very good.    Thank you.

18               MR. MILNE:    Good afternoon, Your Honor.        Robert

19    Milne from White & Case on behalf of the Boehringer

20    defendants, and I'll be arguing today from the defense

21    side, and with me is my colleague Alison Hanstead and

22    Jaclyn Epstein.

23               THE COURT:    Okay.   Thank you.

24               MR. HOLDING:    Your Honor, Chris Holding with Jim

25    Shearin for the Barr and Teva defendants.        We're all
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 4 of 82
                                                                  4


 1    support for Mr. Milne.

 2               THE COURT:    All right, sounds good.      We

 3    obviously have two motions.      I'm assuming that the motion,

 4    the class motion, related to the class plaintiffs will go

 5    first, but if that's not what you plan, I'm happy to --

 6               MR. MILNE:    No, that is what we plan.

 7               THE COURT:    All right, sounds good.

 8               MR. MILNE:    As you can probably tell from your

 9    monitor, I think we have Powerpoint slides for you to kind

10    of guide the discussion, but we also have hard copies,

11    which we've provided to counsel.

12               THE COURT:    Okay.

13               MR. MILNE:    Good afternoon, Your Honor.

14               THE COURT:    Good afternoon.

15               MR. MILNE:    So just to set the context here, as

16    Your Honor knows, we're here first to discuss the class

17    plaintiffs' motion, the indirect purchaser class

18    plaintiffs, and the first couple of slides that we have

19    for you are just kind of to sort of remind us where -- how

20    we started and where we are.

21               So we started, that first chart that you should

22    see on your screen, is just an overview of the original

23    complaints as they were filed here.       So we had over 150

24    state law claims.    The causes of action indicated in red

25    are those that were withdrawn by the plaintiffs, and the
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 5 of 82
                                                                  5


 1    ones that have the green strike-throughs are the ones that

 2    Your Honor dismissed on the March 23 motion.

 3               The next slide gives an overview of where we are

 4    today with the amended complaint.       So we have the causes

 5    of action indicated, various state antitrust claims and

 6    then the state consumer protection act claims.         The ones

 7    that have red strike-throughs are the ones that the

 8    plaintiffs have indicated that they have pled just for

 9    purposes of preserving appellate rights, so it's

10    understood that those will just be dismissed as a matter

11    of course, and so we haven't briefed those or don't intend

12    to argue those today.

13               The ones that have the green strike-throughs are

14    the ones against which we're moving, so it's six causes,

15    state causes of action, and the one federal antitrust

16    injunction claim. The next slide just gives the high-level

17    overview of the states and the causes of action that we're

18    moving against.

19               So if it's acceptable to Your Honor, what I

20    propose to do is just kind of move through those and

21    answer any questions that you have along the way.

22               THE COURT:    Sure.I

23               MR. MILNE:    So starting with Illinois, the

24    Illinois antitrust statute, that claim should be dismissed

25    because the purchaser -- the indirect purchaser plaintiffs
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 6 of 82
                                                                  6


 1    here are proceeding on a class action basis, and the

 2    Illinois antitrust act very explicitly in the next slide

 3    sets forth the language.     It provides indirect purchasers

 4    with the right to bring an action under the statute, but

 5    it very explicitly says they can't proceed on a class

 6    action basis; only the state attorney general has that

 7    right.   And so for that reason, multiple courts have

 8    dismissed class action claims attempted to be brought by

 9    indirect purchasers under the Illinois antitrust statute.

10    In the next slide here we cite these cases in the brief,

11    but the Lidoderm, the Nexium case, the Wellbutrin case,

12    and there's some others that we included in the briefing,

13    all were dismissals, and these cases are dismissals as

14    against end-payor plaintiffs of the very same type that

15    are at issue here, these third-party payors and the like.

16               Now, the plaintiffs say this Illinois provision

17    should be trumped by Rule 23 because of the U.S. Supreme

18    Court's decision in the Shady Grove case.        Your Honor,

19    these courts, the courts that we've cited to you, are

20    courts that considered the application of these very same

21    types of claims in light of Shady Grove and ruled that

22    under the considerations in Shady Grove, Rule 23 should

23    not trump because in order to have Rule 23 apply, the

24    provisions of the Rules Enabling Act would be violated; in

25    other words, there would be an impingement on a
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 7 of 82
                                                                  7


 1    substantive state right is what these courts found with

 2    respect to this Illinois statute.       And, Your Honor, what's

 3    key to -- one of the keys to these decisions is that the

 4    courts in them applied the test laid out by Justice

 5    Stevens in his concurring opinion in Shady Grove, and the

 6    next slide should have that, and what Justice Stevens said

 7    is that where you have a state rule that on its face looks

 8    procedural, but in its operation or it's so intertwined

 9    with a right or a remedy that it basically functions to

10    define the scope of that right or remedy, then it should

11    be deemed substantive and not be trumped by the federal

12    civil procedure rule.     And so that's the test that these

13    courts that we've cited to you, Your Honor, considering

14    the Illinois statute, have adopted.       And that is the test

15    that has been adopted by the majority of courts around the

16    country, the Stevens concurrence.

17               So this next slide just gives an overview of the

18    courts that have adopted that test.       So it includes the

19    First, the Eighth, the Tenth Circuits, at least two courts

20    within this district and a couple of others within the

21    circuit and other courts from other jurisdictions have

22    said that when you're considering the Shady Grove issue,

23    it is the Stevens concurrence that should be -- you know,

24    drive the analysis.

25               And one case in point there, Your Honor, that I
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 8 of 82
                                                                   8


 1    think is important to keep in mind is the Trilegiant case.

 2    That case was decided by Judge Bryant in this district

 3    just, I guess, last year, and there she was considering

 4    the Connecticut Unfair Trade Practices Act which has a bar

 5    against class actions where one of the named plaintiffs is

 6    not a resident of Connecticut.      So in the Trilegiant case

 7    the issue was, well, in federal court does Rule 23 trump

 8    that state rule.    And the judge, first of all, decided to

 9    apply Justice Stevens' test and applying it concluded

10    that, as the quote there indicates, that the class action

11    restriction of the Connecticut act reflects a substantive

12    policy judgment by the Connecticut legislature, and

13    because it's substantive rather than procedural, Rule 23

14    doesn't control.

15               And that's what we have here with this Illinois

16    statute, Your Honor.     It is -- the provision in question

17    is the very provision by which indirect purchasers are

18    accorded the right to bring a private action under the

19    Illinois statute.    In other words, Illinois Brick is being

20    overruled, but the legislature said in only a limited way.

21    You don't get to proceed on a class action basis.           And

22    that is a substantive rule.      That is based -- that is

23    limiting the range of rights that plaintiffs -- indirect

24    purchasing plaintiffs in Illinois have, and that's to be

25    distinguished --
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 9 of 82
                                                                  9


 1                THE COURT:   Why isn't it simply limiting a

 2    procedural vehicle?

 3                MR. MILNE:   Well, I think when you're thinking

 4    about antitrust in particular, Your Honor, it is that the

 5    ability to bring a class action really is, as a practical

 6    matter, a substantive right because you may have an

 7    antitrust gripe as an individual indirect purchaser, but

 8    you may not have the ability or the wherewithal to bring

 9    an antitrust claim.      It's big, it's expensive, it's

10    different.   And the legislature in Illinois -- in the

11    federal courts, the courts say you don't ever get to bring

12    a cause of action like that.      Some states have said

13    indirect purchasers, you can bring causes of action like

14    that, and you can do it on a class basis or whatever basis

15    you want.    But the Illinois legislature said you can bring

16    an action if it's -- but you've got to do it alone.

17    But --

18                THE COURT:   Obviously, that's what they said.

19    What I'm trying to sort out is why should that be

20    characterized as a substantive provision of the Act rather

21    than a limit on a procedural vehicle that can be used to

22    bring an action?

23                MR. MILNE:   Well, I think when you -- when you

24    look at it through the lens of Justice Stevens' test, it

25    is effectively limiting a substantive right because you
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 10 of 82
                                                                   10


  1   may not have the ability to even bring an action if you

  2   don't -- if you're not proceeding on a class basis in an

  3   antitrust context, if you're an individual purchaser.

  4   Now, the Illinois legislature made a policy judgment that

  5   it's willing to accept that; that is, for at least the

  6   state of Illinois, that's going to be the rule.         So --

  7               THE COURT:   But a limitation on your ability to

  8   bring a claim is not necessarily substantive.         If Illinois

  9   set a two-week statute of limitations, it might have the

10    practical effect of precluding many people from bringing

11    claims, but I think we can agree that's a procedural

12    limitation, isn't it?

13                MR. MILNE:   I would not -- I haven't thought

14    deeply about the statute of limitations angle, but it

15    certainly would affect a substantive right, and what

16    Justice Stevens is saying is if -- certainly, you know,

17    the ability to bring a class action, you can't deny that

18    it's a procedural device, but what Justice Stevens was

19    saying is that there may be procedural devices that are so

20    tied up in the practicality of the substantive right that

21    you have to view it as de facto substantive.         And I think

22    this is a classic example of that.

23                THE COURT:   Right, but what I'm struggling with

24    is how do I tell one from the other?        In other words, what

25    are the indicia of it being so tied up that it becomes
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 11 of 82
                                                                    11


  1   substantive if on its face it appears to be a procedural

  2   limitation?

  3               MR. MILNE:   One of the key indicia, Your Honor,

  4   is just how targeted is that, is that state rule.            So in

  5   the Shady Grove case, the rule at issue was a rule of New

  6   York procedural law that was actually part of the New York

  7   civil practice rules that basically said you can't proceed

  8   on a class action basis for any action involving a

  9   penalty.    So it was a provision of wide application,

10    clearly part of the civil practice rules, didn't

11    specifically relate to any particular cause of action,

12    even could apply to non-New York causes of action, tort

13    actions or whatever else, so it was very broad in its

14    application.    So I think the more specific you get, and

15    with this Illinois statute and with, for example, the

16    Connecticut law that Judge Bryant considered, you have a

17    very focused decision being made by the legislature on a

18    particular type of right of action or right that's being

19    accorded to a universe of entities to bring a lawsuit, and

20    where it is targeted that way and where, as a very

21    practical matter, its application will determine is there

22    a cause of action or not a cause of action?

23                THE COURT:   So your view is if the procedural

24    limitation is set forth in the same statute that creates

25    the right of action, there's a greater likelihood it's a
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 12 of 82
                                                                   12


  1   substantive limitation than if it's maintained as some

  2   more general rule of procedure?

  3               MR. MILNE:   Absolutely, Your Honor, and I think

  4   that that's on full display with respect to this Illinois

  5   statute because, you know, it wasn't like -- it wasn't

  6   like the indirect purchasers had had a right of action for

  7   50 years before that and now the legislature comes in and

  8   ingrafts something that limits class actions where you

  9   might say, okay, well, that's something more procedural.

10    Here in the very act of according this right, the

11    legislature said it's tempered, it's limited, and in this

12    way.   And if Justice Stevens' test means anything, I think

13    it would apply to this situation, and I think it properly

14    applies in the situation of Trilegiant, which involved a

15    similar type provision that was part of the consumer

16    protection act regime in this state.

17                The other thing about the Illinois situation is

18    that in Illinois, it is not as though indirect purchasers

19    are prevented from ever recovering.        What the

20    legislature -- where there's a real antitrust violation,

21    what the legislature says is we want the state attorney

22    general to basically come in and decide when it's

23    appropriate to proceed on that basis.

24                And the other thing that makes the Illinois

25    situation very much more substantive than what was at
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 13 of 82
                                                                   13


  1   issue in Shady Grove is the fact that that legislation,

  2   that same piece of legislation, very clearly indicated

  3   that the legislature was concerned about issues of double

  4   recovery.    So -- because when you have -- direct

  5   purchasers always have the right of action, and now what

  6   the legislature was doing was saying, okay, at least in

  7   this limited way, indirect purchasers are going to have a

  8   right of action, but we want to be very sure that when

  9   both are suing that you don't have six-fold recovery or

10    that kind of thing.     So one of the ways in which it caused

11    that to be more front and center was to say, well, we're

12    not going to allow these big class actions to just be

13    brought by anybody and everybody when we're talking about

14    indirect purchasers.     It's the state attorney general;

15    that office can interact with the court and try to resolve

16    that.

17                So, Your Honor, our position is that consistent

18    with all the cases that we've cited and with the

19    Trilegiant case, this Illinois cause of action should be

20    dismissed.

21                Now, the plaintiffs, of course they're citing

22    Shady Grove.    They reference a recent Eleventh Circuit

23    case, the Lisk case.     Some of the colloquy we've just had

24    I think would give you our answer to the Lisk case.          I

25    mean, basically, Lisk Corp. did not apply the Stevens
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 14 of 82
                                                                   14


  1   test.   We think it should have.      We think had it applied

  2   the Stevens test, it would have reached a similar result

  3   to what Judge Bryant did in the Trilegiant case.

  4               So unless Your Honor has any further questions

  5   on that, I'd like to move on to the Illinois consumer

  6   fraud --

  7               THE COURT:   Yes, the only question I have is in

  8   terms of kind of making sense of these arguments, there

  9   might be some value in hearing from the other side --

10                MR. MILNE:   Sure.

11                THE COURT:   -- right after you present your

12    argument while things are fresh.       If we go through a

13    couple of other states, I'll be lost.

14                MR. MILNE:   I was wondering if you would have

15    that view.    Yes, that makes sense.

16                THE COURT:   So let's hear from --

17                MR. SHADOWEN:    Good afternoon, Your Honor.

18    Steve Shadowen on behalf of the end-payor plaintiffs.

19                The Court doesn't have to decide whether to

20    apply Justice Scalia's opinion or Justice Stevens' opinion

21    in Shady Grove because, in fact, all nine justices agree

22    with our argument, even the dissenters.        Every single one

23    of the opinions in Shady Grove says the very first thing

24    this Court should do is decide, by reading the text of the

25    state statute, and Rule 23 in this instance, to see
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 15 of 82
                                                                   15


  1   whether there's, in the Court's term, a direct clash

  2   between the statutes, and there isn't any here, and you

  3   didn't hear anything from the other side telling you that

  4   there was because the Illinois statute says on its face

  5   that the limitation on class actions applies to claims

  6   brought in the courts of this state.

  7               THE COURT:   Yes, I wanted to press you a little

  8   bit on that --

  9               MR. SHADOWEN:    Sure.

10                THE COURT:   -- because that's common language in

11    a state statute.     There are any number of Connecticut

12    state statutes that I've had to interpret.         One that comes

13    to mind is the prejudgment remedy statute in this state

14    says if you want to seek a prejudgment remedy, you can

15    apply to a court of this state, or something similar, and

16    obtain it, and yet --

17                MR. SHADOWEN:    Sure.

18                THE COURT:   -- there is great authority, great

19    practice and history of reading that language to mean any

20    court, in effect, located within the confines, geographic

21    confines of Connecticut, state or federal.         So I guess I'm

22    a little skeptical of the argument that that limitation is

23    a meaningful one.     It may mean it has to be brought in

24    Illinois federal court rather than Connecticut federal

25    court, but for the MDL that problem may be solved, too.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 16 of 82
                                                                     16


  1   So help me understand --

  2               MR. SHADOWEN:    Sure.

  3               THE COURT:   -- why there's more here than --

  4               MR. SHADOWEN:    Sure.   And here's why the sorts

  5   of provisions you're talking about are different from this

  6   provision.    This statute, Illinois statute, has in it the

  7   provision of the type that you're referring to where it

  8   gives the claim -- there's a venue provision that says you

  9   can bring this claim in the circuit court.         That's the

10    venue provision.

11                THE COURT:   Right.

12                MR. SHADOWEN:    But then it goes on, when it's

13    talking about this specific limitation, specifically with

14    respect to the limitation on the class action procedure,

15    it says "a class action in a court of this state."            You

16    can compare that to lots of other of these consumer fraud

17    statutes throughout the country, and there are very few,

18    if any of them, that have this limitation in it.             They all

19    say -- and it would be very common and easy to say if --

20    if the intention of the Illinois legislature were to bar

21    class actions, they could have just said, "We bar class

22    actions," period.     Why did they go on and say "in the

23    courts of this state"?      And it really ties into, in fact,

24    one of Justice Stevens' criteria.       He said, One of the

25    things we're trying to figure out here is, is this a
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 17 of 82
                                                                    17


  1   substantive limitation or is the legislature really

  2   talking about how they want the courts of their state to

  3   operate.    And that limitation that says "in the courts of

  4   this state" is clearly of the latter type.         They are

  5   talking about they don't want a class action other than

  6   ones brought by the state attorney general in the Illinois

  7   courts.    They're agnostic about what happens if this

  8   claim, substantive claim, is brought in any other court.

  9               THE COURT:   Including a federal court in

10    Illinois?

11                MR. SHADOWEN:    I think the federal court in

12    Illinois, somebody would have to parse that, but certainly

13    my understanding would be they're talking about New

14    York -- I mean Illinois state courts.        And I think this is

15    really, really important because you have to take a step

16    back and say, What are we talking about here, when at the

17    end of the day we're saying when the Supreme Court adopted

18    Rule 23, did they act ultra vires?       That's what the

19    defendants have to convince you happened here.         And just

20    like finding a state -- or a federal statute or state

21    statute unconstitutional, the very first principle is you

22    only do that if you really have to do it.         Is there a

23    direct clash between Rule 23 in this instance and the

24    state statute?

25                I understand your point about there are lots of
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 18 of 82
                                                                   18


  1   statutes that give a venue provision.        This isn't a venue

  2   provision.    The venue provision has already been given

  3   earlier in the statute.      This is a direct limitation on

  4   the proviso about class actions.

  5               THE COURT:   So the statute, in your view,

  6   authorizes a class action to be brought under Illinois and

  7   the state courts of Indiana?

  8               MR. SHADOWEN:    Yes, that's correct.     That's a

  9   limitation on what is happening in Illinois state courts.

10    For whatever reason -- you know, I don't want to speculate

11    as to why they would do that, I can think of lots of

12    reasons, but rather than speculate, they just have a

13    limitation to say other people can do this; we don't think

14    we're equipped for it or we don't want that to happen

15    here.    Let other people decide if they're going to let

16    that happen.    But it would have been the very easiest

17    thing to do, and I'll admit that the other state where we

18    have to talk about this issue is South Carolina, and South

19    Carolina does not have that limitation.        Very easy thing

20    to do.   That just says no class actions.       That's a very

21    common thing to do, the most common thing with respect to

22    these sorts of limitations.      Illinois did not do that.

23    They said no class actions in the courts of this state.

24                THE COURT:   Okay.

25                MR. SHADOWEN:    So that's point number one.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 19 of 82
                                                                   19


  1               THE COURT:   All right.

  2               MR. SHADOWEN:    All nine justices are on our side

  3   so you don't have to reach which one of the opinions is

  4   the governing standard.

  5               So now if you get past that, which is the

  6   governing opinion in Shady Grove, a test often bandied

  7   about is which you're supposed to apply the most narrow

  8   decision.    Lots of courts have pointed out, commentators

  9   have pointed out narrowness is in the eye of the beholder.

10    They say Justice Stevens is more narrow because he didn't

11    reach the ultimate rules enabling, that question that

12    Justice Scalia went on and reached.        I say that Justice

13    Scalia is more narrow because he didn't have to decide

14    whether the New York state limitation was procedural or

15    substantive.    So it's not a helpful test, frankly.

16                So what the court in Lisk did, which is the only

17    circuit court decision on these issues, recent decision a

18    couple of months ago in the Eleventh Circuit, said we're

19    going to do two things.      We're going to decide this for

20    ourselves, and we're bound by the holding in Shady Grove,

21    and the holding in Shady Grove is that Rule 23 was not

22    trumped by the New York procedural rules with respect to

23    class actions.    That's the holding.      Of course, in this

24    case we're not applying the New York statute, we're

25    applying the Illinois statute, so the holding, the narrow
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 20 of 82
                                                                   20


  1   holding is not determinative, but I think it says volumes

  2   that plaintiffs here win outright under Justice Scalia's

  3   opinion because he says if the procedural rule, Rule 23 --

  4   if the rule, Rule 23 is determined to be procedural, then

  5   it applies, period.      It doesn't matter whether the state

  6   statute is considered to be procedural or substantive;

  7   Rule 23 trumps.     Justice Stevens says, no, if the federal

  8   rule is procedural, then you go on and determine even if

  9   the state rule seems to be procedural on its face because

10    it's so intertwined with the state substantive right as to

11    define, in essence, the elements of the state claim.

12    And --

13                THE COURT:   If Justice Stevens' view prevails,

14    how do you win this argument?

15                MR. SHADOWEN:    Sure.   We start with two things:

16    one, he upheld Rule 23.      He said -- even in his opinion,

17    he says Rule 23 trumps that state statute, so we start

18    there.

19                Secondly, the standard is, is that state rule so

20    bound up with the substantive right as to define its

21    scope, and I'll tell you why that -- it doesn't define the

22    scope.

23                The other thing he says that's very, very

24    important is he says for the state rule to trump Rule 23,

25    it's, quote, a high bar.      There must be, quote, little
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 21 of 82
                                                                   21


  1   doubt.   And that Rule 23 wins if there are, quote, two

  2   plausible narratives.

  3               So here's our plausible narrative as to why the

  4   Illinois statute is -- is not -- does not define the

  5   substantive right.     And the courts already hit upon it,

  6   and that is every single person for an entity in Illinois,

  7   for whom we seek relief under the class action mechanism,

  8   has exactly the same substantive right regardless of how

  9   this dispute turns out; that is, Illinois does not strip

10    those people of a claim.      It doesn't alter any of the

11    elements of the claim, any of the methods of proof of the

12    claim, any of the relief that is available or any of the

13    defenses.    The substantive right in any common

14    understanding of that term is exactly the same.         The only

15    thing that's different is the procedural device to hear

16    all of those claims.     Is it by individual joinder?        We

17    trot all those people into this courtroom and say now we

18    want joinder, or do we do Rule 23?       And that is so

19    obviously a procedural rule, purely a procedural rule,

20    that it seems to me beyond dispute, not just a plausible

21    narrative but it seems to be right and incontrovertable.

22                The other thing I will say is I've been speaking

23    about the Illinois statute as if it were a bar on class

24    actions, but unlike the New York statute that was found to

25    be trumped in Shady Grove, this Illinois statute doesn't
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 22 of 82
                                                                   22


  1   even do that.    It just puts a limitation on the person who

  2   can maintain a class action; that is, it doesn't even bar

  3   class actions.    It just says in the state courts of

  4   Illinois, the attorney general must bring the class

  5   action.   That's all it says.      So that is so far from

  6   defining or limiting the substantive right in such a

  7   manner as to redefine the scope of that right it seems to

  8   me just beyond dispute.

  9               A couple of points about the Lisk decision.

10    There the Court concluded that it was irrelevant whether

11    or not the class action limitation was in the same statute

12    that created the right, and the Court there pointed out

13    the chaos that would ensue if any other rule applied.             You

14    can't have Rule 23 applying to one state's law because

15    they have their -- their statute -- their class action

16    limitation in some other statute and the exact same

17    language used in another state statute and they trump

18    Rule 23 because they put it in a different section.          They

19    said that's just not tenable.       You can't turn Rule 23 on

20    and off, such an important federal procedural rule, by a

21    mechanism of where you place the limitation.         And I'll

22    also point out the Hydroxycut decision and also the

23    Lithium Ion decisions that go our way.

24                So what you have is a handful of district courts

25    that have gone different ways on this issue.         You've got
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 23 of 82
                                                                   23


  1   one court of appeals that's gone solidly our way, and then

  2   you have the fact that with respect to Illinois, you don't

  3   have to deal with any of this stuff because, in fact,

  4   there is no clash between Rule 23 and the Illinois

  5   statute.

  6               THE COURT:   Okay.

  7               MR. SHADOWEN:    Thank you, Your Honor.

  8               MR. MILNE:   Your Honor, if I might respond to a

  9   couple of the points Mr. Shadowen made with respect to

10    Illinois.    First of all, with respect to the issue about

11    the limiting language in the Illinois statute to the

12    courts of this state, I agree with Your Honor's analysis

13    that basically this is kind of common verbiage in state

14    statutes.    I don't think there's any hint in any court

15    decision, in any piece of legislative history or the like

16    that would suggest that the Illinois legislature

17    contemplated that so long as an action was brought in,

18    say, federal court in Illinois or federal court in Indiana

19    or some other court in some other place that that policy

20    judgment reflected in the legislation would just be thrown

21    out the window.     There's no suggestion of that, and to

22    sort of read that in I think I incredibly inappropriate.

23                With respect to this issue about, well, you

24    know, the class action device is procedural and each

25    individual plaintiff has a right to come in and bring its
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 24 of 82
                                                                   24


  1   lawsuit, Your Honor, if you telescope down any -- what

  2   Justice Stevens was dealing with was recognizing that

  3   there may well be procedural rules that have significant

  4   substantive implications.      That's what he was -- that's

  5   what he was trying to address.       Now, he held and then

  6   agreed with the plurality, so that's why the decision came

  7   out that way, he held that that New York statute fell on

  8   the line of being procedural.       But if you look at pretty

  9   much -- I can't think of an example of something that

10    would be procedural on its face that you wouldn't be able

11    to make a similar argument to what Mr. Shadowen just did,

12    to basically say, Oh, well, the underlying substantive

13    right is the same across the board.        What Justice Stevens

14    was getting at is that in this balance between federal

15    civil rules and their application when considering a state

16    right of action is that you need to respect policy

17    judgments by the individual states that have substantive

18    implications, and admittedly it's a gray area, and there's

19    a spectrum.    But I think that this Illinois statute, and

20    the South Carolina statute we'll talk about in a little

21    bit, and the Connecticut statute, those ones dealing with

22    these very targeted decisions by legislatures with respect

23    to the ability to bring class actions, especially when

24    they're talking about an antitrust case, and that's what

25    makes, I think, Illinois very particularly relevant, is
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 25 of 82
                                                                    25


  1   substantive.

  2               And one final point that I'd make is that

  3   basically what Mr. Shadowen's argument boils down to is

  4   that the Illinois legislature had really two choices.

  5   They could have adopted Illinois Brick whole hog and said

  6   nobody gets -- no indirect purchasers get to sue, or

  7   overrule it entirely and that there's no gradation in

  8   between that the legislature could have adopted that

  9   wouldn't be disregarded in federal court.         And I don't

10    think that's a fair reading of Shady Grove or a fair

11    reading of the Rules Enabling Act.

12                Okay.   So, Your Honor, moving on to the Illinois

13    Consumer Fraud and Deceptive Practices Act, their consumer

14    protection statute, there are two basic reasons for

15    dismissing that one, Your Honor.       The first one is

16    basically it's very clear in the Illinois case law that

17    the Illinois courts do not regard the Illinois consumer

18    protection statute as an additional avenue for antitrust

19    enforcement.    Now, that's different from various other

20    states, but the most recent pronouncement from the

21    Illinois supreme court on this is very clear, and I have

22    some of the language pulled out here, Your Honor.            First

23    is no indication the supreme court said that the

24    legislation intended the consumer fraud act to be an

25    additional antitrust enforcement mechanism and that the
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 26 of 82
                                                                   26


  1   language of the act makes clear that its reach was to be

  2   focused on conduct that defrauds or deceives consumers.

  3               We don't have that here, Your Honor.       This is

  4   not a deceptive practices claim.       As we've trumpeted in

  5   our statute of limitations arguments, the terms of the

  6   agreement were not kept hidden --

  7               THE COURT:   Right.

  8               MR. MILNE:   -- it was public, etc.      So what the

  9   plaintiffs are doing here is basically taking an antitrust

10    claim, relabeling it consumer protection and saying now we

11    get to sue, and also we get to do it on a class action

12    basis, which we would submit is an end run around that

13    Illinois judgment as well.      So for that reason, that very

14    independent reason, this cause of action should be

15    dismissed.    The Wellbutrin and the cases that we cite in

16    the paper support that result.       And if we could go to the

17    next slide, there are a couple of other decisions that we

18    point out in the briefs where courts dismiss on the basis

19    of this end run idea, and that's exactly what we have

20    here.

21                So the second reason why this cause of action

22    should be dismissed is that under the consumer protection

23    act, these indirect purchasers, these 16 named plaintiffs,

24    do not qualify as consumers under the legislation.           Now,

25    under the statute, a consumer is defined as one who
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 27 of 82
                                                                   27


  1   purchases for his own use or that of a member of his

  2   household.    That's what the statute says.       These union

  3   trust fund entities are not buying for their own personal

  4   use or the use of members of their household.         It's just a

  5   misnomer.    It's a complete disconnect.      These are

  6   basically insuring -- they're insurers.        They're insuring

  7   a drug benefit.     They are providing reimbursement.        They

  8   are functioning in a business capacity, not in a capacity

  9   as a consumer.    So if you are a nonconsumer under the

10    state statute, it doesn't mean you don't get to bring a

11    cause of action; it means that you have to satisfy the

12    so-called consumer nexus test, and the consumer nexus test

13    says that the conduct that's at issue has to have been

14    directed to the market generally or it otherwise -- the

15    conduct has to relate to consumer protection issues under

16    the Illinois statute.      Neither prong of that test applies

17    here.

18                When you look at the Illinois case law, and we

19    cite some of it in the papers and others are referred to

20    in the cases that we cite, conduct that's directed to the

21    market is conduct that's consumer facing.         It is, you

22    know, the typical what you would think of as consumer --

23    what consumer protection act statutes are designed to

24    address, things like false advertising, misleading

25    consumers about your product or the qualities of it,
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 28 of 82
                                                                     28


  1   undertaking -- surreptitiously gathering data and then

  2   providing unwanted services, that kind of thing.             They're

  3   clearly directed to consumers.

  4               THE COURT:   I get it.

  5               MR. MILNE:   We don't have that here.

  6               THE COURT:   I get it.

  7               MR. MILNE:   Okay.   So that prong of the test is

  8   not satisfied.

  9               With respect to does the conduct implicate

10    consumer protection issues, what the courts in Illinois

11    have said interpreting Illinois law, one case we cite is

12    the MacNeil case, the reference is here, is the consumer

13    protection concerns are implicated with conduct that would

14    confuse or deceive consumers, which makes sense given the

15    focus that I mentioned before articulated in the Laughlin

16    case, the supreme court of Illinois case that said the

17    Illinois consumer protection law is focused on deception,

18    misleading and that kind of thing and not to antitrust

19    conduct more generally.      And so for that reason, Your

20    Honor, because these nonconsumer plaintiffs can't satisfy

21    the consumer nexus test, that's the second reason why this

22    cause of action should be dismissed.        And I would

23    otherwise move on, but if Your Honor has questions or if

24    you want to have Mr. Shadowen --

25                THE COURT:   Sure.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 29 of 82
                                                                   29


  1               MR. MILNE:   -- respond.

  2               THE COURT:   I'll hear a response.

  3               MR. MILNE:   Okay.

  4               MR. SHADOWEN:    Your Honor, defendants cannot win

  5   both the Shady Grove argument and the consumer fraud

  6   argument for this reason:      Their own brief says that under

  7   this Laughlin standard that they've relied on, the

  8   standard is whether or not there's complete overlap

  9   between the two statutes.      So they come here on the first

10    argument we heard, and they're trying to convince you that

11    there is a different substantive development to the

12    antitrust claim in Illinois, and that is that that claim

13    cannot be brought as a class action.        We think that's

14    wrong.   But if it's right, that's a different element to a

15    substantive element of the claim, a different -- in the

16    language of Shady Grove, a different definition of the

17    scope of the claim than is in the consumer fraud statute.

18    So that's point number one.

19                Point number two is that they're also

20    different -- they're not complete overlap of the claims

21    because they're different remedies.        Under the antitrust

22    statutes, they're trouble damages.       There are not trouble

23    damages under the consumer fraud statute.         So you've got,

24    according to them, different substantive elements to the

25    claim, there are different remedies, and yet they want to
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 30 of 82
                                                                       30


  1   say there's a complete overlap between the statutes when

  2   there clearly is not.

  3               And then take a step back and think about the

  4   bootstrap argument that's being made here.         There's the

  5   antitrust statute with its trouble damages provisions and

  6   other provisions, and they say the legislature very

  7   carefully in that statute said no class actions.             A

  8   different statute, in the case law we cite, says claims

  9   that are competition claims, like antitrust claims, can be

10    brought if they otherwise fit under the consumer fraud

11    statute.    So different statute, no limitation on class

12    actions, presumably very intentionally, just like the

13    legislature did with respect to antitrust, and now they

14    want to bootstrap and say, well, because you can't have

15    the legislature put a specific limitation in that statute,

16    we're going to read it into another statute where it

17    doesn't exist.    That's just an extraordinary argument.

18                THE COURT:   Well, okay.    Let me focus you on

19    this idea that the act is only proscribing false and

20    deceptive conduct as opposed to unlawful or unfair

21    conduct.

22                MR. SHADOWEN:    Right.   That's clearly not the

23    case.   The statute in turn says that it covers unfair

24    competition.    And the Robinson vs. Toyota decision by the

25    Illinois supreme court talks about that prong of the
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 31 of 82
                                                                   31


  1   statute and doesn't say anything about a consumer nexus.

  2   It says that the element is, is there substantial injury

  3   to consumers?    So under that prong -- so all the cases he

  4   talked about where they're talking about reliance, where

  5   they're talking about misrepresentations, that that's the

  6   focus of the statute, that's under the fraud element, the

  7   misrepresentation element of the statute, not the unfair

  8   competition.    So...

  9               THE COURT:   Well, I'm not sure I'm following

10    you, frankly.

11                MR. SHADOWEN:    Okay.

12                THE COURT:   We've got Laughlin --

13                MR. SHADOWEN:    Yes.

14                THE COURT:   -- right, where the Illinois supreme

15    court says -- at least I'm reading off his slide -- no

16    indication that the legislature intended the consumer

17    fraud act to be an additional antitrust enforcement

18    mechanism.

19                MR. SHADOWEN:    Right.

20                THE COURT:   So it's reaching conduct that

21    defrauds or deceives consumers.

22                MR. SHADOWEN:    Right.   When the underlying claim

23    there -- that was a claim of misrepresentations, that the

24    plaintiffs tried to shoehorn into an antitrust claim.             So

25    when the underlying conduct, the predicate conduct is
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 32 of 82
                                                                   32


  1   fraud or misrepresentation, that's the rule.         That's not

  2   what we're relying on here.      We're relying on a different

  3   provision of the statute having to do with unfair

  4   competition, and the underlying predicate is not

  5   misrepresentations; it's a payoff.

  6               THE COURT:   So what provision are you relying

  7   on?   Let's try it that way.

  8               MR. SHADOWEN:    Okay.   So in Robinson, the

  9   supreme court says a business practice violates the unfair

10    practice clause of the -- this is, I'm sorry, page 7 of

11    our brief.    So here are the elements when, as here, we're

12    proceeding under the unfair practice clause of the

13    statute, and here are the elements:        It defends public

14    policy, that it's immoral, unethical or oppressive,

15    unscrupulous or causes substantial injury to consumers.

16    And those are in the disjunctive, and they hit all three

17    of them here.

18                THE COURT:   Okay.   I got it.

19                MR. SHADOWEN:    Okay.   So, fundamentally, the

20    Laughlin case was talking about when the predicate act is

21    one of misrepresentation or fraud, you can't get around

22    limitations by trying to recast it.        This is not that

23    case.   When the case is unfair practice clause of the

24    statute, Robinson says these are the elements, and we meet

25    them.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 33 of 82
                                                                   33


  1               THE COURT:   Okay.

  2               MR. SHADOWEN:    With respect to there being a

  3   nexus to consumers, that again all has to do with when

  4   there's fraud and misrepresentation.        When it's unfair

  5   competition, the standard is what you would think it would

  6   be, did it injure consumers.       Thank you, Your Honor.

  7               THE COURT:   Okay, thank you.

  8               MR. MILNE:   Your Honor, I guess what I'll first

  9   comment, to say that there is no attempt at bootstrap here

10    whatsoever.    What the Illinois legislature did with

11    respect to the antitrust act is to say we are according

12    private -- indirect person claims a right of action --

13                THE COURT:   No, I get -- I understand your

14    argument.

15                MR. MILNE:   Okay, okay.

16                THE COURT:   But help me understand the

17    distinction, and this goes through a number of the

18    states' --

19                MR. MILNE:   Right.

20                THE COURT:   -- statutes that you're challenging.

21    I'm with you on deceptive practices.

22                MR. MILNE:   Right.

23                THE COURT:   But why should I be with you on

24    unfair or unlawful practices?

25                MR. MILNE:   What we always -- what we see in
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 34 of 82
                                                                    34


  1   many of the states is that the state consumer protection

  2   laws are modeled on the FTC act.

  3               THE COURT:   Right.

  4               MR. MILNE:   And the FTC act, generally

  5   construed, does encompass antitrust type conduct.            So in

  6   many, many states you see that that is something that's

  7   fairly encompassed.

  8               I would just urge Your Honor to look at the

  9   Laughlin case because in that case one of the things that

10    was at issue was whether, basically, price

11    discrimination -- price discrimination type conduct,

12    antitrust conduct, was actionable under the act, and the

13    supreme court of Illinois goes through a discussion.           It

14    talks about the -- I won't read the whole thing here, but

15    I'm looking at -- there's so many page references, I don't

16    know what Reporter it is, but it's 550 N.E. 2d 986, in and

17    around 992, 993 where the Court is talking about giving

18    consideration to the Federal Trade Commission Act in

19    Section 5, and the Court goes on to say that under Section

20    5, it has been interpreted to include -- Section 5 of the

21    Federal Trade Commission Act -- interpreted to include

22    anticompetitive price discrimination, it cites cases, and

23    then the Court goes on to point out that the defendants

24    argue that the dominating legislative intention with

25    respect to the Illinois statute was the protection of
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 35 of 82
                                                                   35


  1   consumers and others against various species of fraud and

  2   deceit.   The defendants have the correct understanding of

  3   the consumer fraud act's intent.

  4               It's not talking about any specific provision of

  5   the consumer fraud act; it's talking about the overarching

  6   intent of the legislature.      There is no indication that

  7   the legislature intended the consumer fraud act be an

  8   additional antitrust enforcement mechanism.         The language

  9   of the act shows that its reach was -- its reach -- again,

10    not talking about a specific subpart -- was to be limited,

11    limited to conduct that defrauds and deceives consumers or

12    others.

13                THE COURT:   Do the Illinois courts apply the

14    cigarette rule when interpreting this act?

15                MR. MILNE:   The cigarette rule?

16                THE COURT:   The FTC's rule, without -- something

17    along the lines of without having previously been held to

18    be unlawful --

19                MR. MILNE:   Oh, yes, yes; no, I understand.

20    Your Honor, what I can say is that based on this

21    pronouncement from the highest court of the state of

22    Illinois, what the Court is saying is that it is deceptive

23    conduct that is the overarching focus of this act.           Does

24    that mean that an antitrust cause of action, something

25    that would traditionally be an antitrust cause of action
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 36 of 82
                                                                   36


  1   could never be simultaneously a violation of the consumer

  2   fraud act?    No, it doesn't mean that.      But the cause of

  3   action, the antitrust cause of action, would have to have

  4   an element of deceit, deception, etc.

  5               THE COURT:   That's what I'm trying to get at,

  6   because if the cigarette rule applies, that would not be

  7   true.   The cigarette rule would bar a broader range of

  8   conduct than merely deceptive.       It would go into unfair,

  9   unscrupulous, illegal, etc.

10                MR. MILNE:   Well, what the Illinois court is

11    saying is our statute is focused on deception, deceit,

12    fraud, those types of conduct.

13                THE COURT:   Yes, I understand that's your

14    interpretation --

15                MR. MILNE:   Right.

16                THE COURT:   -- of that decision.      I'll go back

17    and look at it.     I'm just trying to figure out and maybe

18    both sides can just report --

19                MR. MILNE:   Sure.

20                THE COURT:   -- whether the Illinois courts apply

21    the cigarette rule in --

22                MR. MILNE:   Okay.

23                THE COURT:   -- interpreting the statute.        It

24    would be helpful to me to know that.

25                MR. MILNE:   We'll be happy to do that.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 37 of 82
                                                                    37


  1               THE COURT:   Okay.

  2               MR. MILNE:   But just to finish my point so it's

  3   clear, the Siegel case that the plaintiffs cite, which is

  4   a Northern District of Illinois case, is a situation where

  5   the court said that conduct that could sound an antitrust

  6   might be able to be pled under the consumer fraud act;

  7   but, again, it has to be through the lens of whether the

  8   conduct at issue involves some form of deception, and in

  9   that case there was an element of deception with respect

10    to what was at issue.      So I think that's the distinction.

11                THE COURT:   Okay.   All right.

12                MR. MILNE:   And to go back, you know, to the

13    boot -- we're not bootstrapping anything here, Your Honor.

14    I mean, there's the antitrust rules, and then there's the

15    interpretation -- the proper interpretation of the conduct

16    that's covered by the consumer fraud act.

17                THE COURT:   Okay.

18                MR. MILNE:   That's straightforward.      Okay.    So

19    that would conclude the discussion on Illinois.

20                So the next one on our list is South Carolina,

21    and South Carolina is -- you know, it's a similar analysis

22    to what we discussed with respect to the Illinois

23    antitrust statute.     And South Carolina, as Mr. Shadowen

24    foreshadowed, you have the consumer protection act allows

25    plaintiffs to bring actions individually but not in a
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 38 of 82
                                                                   38


  1   representative capacity, so it bars class action claims.

  2   We have a class action claim here; therefore, our position

  3   is that it should be dismissed, just as several other

  4   courts have done.     On the slide that we're putting up on

  5   the screen here, we cite several of those.         Auto. Parts

  6   case, you know, the text of the South Carolina law that

  7   prohibits class actions is part of the substantive

  8   portions of South Carolina law and is not trumped by

  9   Rule 23, even in light of the Shady Grove decision.          So it

10    goes back to those same points that we were making.          And

11    this case is very much analogous to the Trilegiant case

12    where you had an analogous type provision of the

13    Connecticut consumer protection statute.        So basically

14    that's our position.     I don't want to replay the

15    arguments.

16                THE COURT:   Perhaps we can group several states

17    because I think there are some overlapping issues here.

18    There are --

19                MR. MILNE:   We may have --

20                THE COURT:   Have we gotten past that?

21                MR. MILNE:   I think we may have gotten past most

22    of them here, Your Honor.

23                THE COURT:   I was wondering about the

24    Massachusetts.    Chapter 93A is often analogized to the

25    Connecticut Unfair Trade Practices Act.        I assume that it
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 39 of 82
                                                                   39


  1   might well be similar to --

  2               MR. MILNE:   Well, we have a slight -- there

  3   isn't a class action bar in the Massachusetts context, so

  4   the arguments are a little bit different.

  5               THE COURT:   Fair enough.

  6               MR. MILNE:   And, I don't know, Mr. Shadowen, do

  7   you have anything specific on South Carolina?

  8               MR. SHADOWEN:    No, except we concede that we

  9   don't have all nine justices on our side with respect to

10    South Carolina.     You will have to decide which opinion to

11    apply.

12                THE COURT:   Got it.

13                MR. MILNE:   Okay.   Well, that does bring us to

14    Massachusetts, Your Honor.

15                THE COURT:   Okay.

16                MR. MILNE:   Actually, let me pause there.       I

17    apologize.    I do have a couple of other South Carolina

18    arguments, if I mightI

19                THE COURT:   Sure.

20                MR. MILNE:   So independent basis for dismissal

21    is the class action bar; but the second argument that we

22    have, Your Honor, is that there's authority under South

23    Carolina law that the consumer protection act cannot be

24    used as an end run around the Illinois Brick issue that

25    exists in South Carolina.      So the South Carolina
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 40 of 82
                                                                   40


  1   legislature has not repealed Illinois Brick.         So there is

  2   an implicit, if not explicit, policy judgment that

  3   indirect purchasers do not get to proceed for damages

  4   under the antitrust -- state-specific antitrust law.          So

  5   the question is whether you can just take and relabel as

  6   an indirect purchaser that antitrust theory and proceed

  7   under the consumer protection law.       And our position is

  8   that you can't, you shouldn't be permitted to do that, and

  9   we cite authority from -- actually, from other districts

10    dealing with other situations where there's an Illinois

11    Brick barring the state and this attempt at an end run.

12    So our position is that independent of the class action

13    bar, there's an independent basis for dismissal there.

14                We also have the argument on relation back, Your

15    Honor, which I don't propose to spend a lot of time on; if

16    Your Honor has questions.      We believe that the claim

17    should be dismissed.     If it is not dismissed because it is

18    a new cause of action brought by a new plaintiff for the

19    first time in this amended complaint, that it should not

20    be permitted to relate back to the finding of the original

21    complaints for purposes of if there ever is a recovery how

22    far the damage period would go back, etc.

23                THE COURT:   Okay.

24                MR. MILNE:   So with that, I can move on to

25    Massachusetts, the Massachusetts consumer protection act.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 41 of 82
                                                                   41


  1               THE COURT:   Did you want to respond to any of

  2   those points?

  3               MR. SHADOWEN:    Yes, please.

  4               THE COURT:   Okay, go ahead.

  5               MR. MILNE:   Sure.   Apologies.

  6               MR. SHADOWEN:    Very quickly, Your Honor, it's

  7   not as if the South Carolina legislature said, you know,

  8   we refuse to repeal the Illinois Brick.        They simply

  9   haven't acted.

10                THE COURT:   I understand.

11                MR. SHADOWEN:    So I want to make sure that

12    that's clear.

13                Secondly, the very language of the South

14    Carolina statute says that any person injured can bring a

15    claim, whether they're injured directly or indirectly.

16    It's in the language of the statute itself.         And then we

17    have the Lithium Ion Batteries decision and the Optical

18    Disk Drive decision that say that language clearly allows

19    end payor plaintiffs, indirect purchasers to sue under

20    that statute.

21                With respect to the relation back to the

22    complaint as I was reading the briefs last night, I think

23    I'm going to tell the Court that we agree that that claim

24    does not relate back to the original filing of the

25    complaint.    We should be able to go back only three years
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 42 of 82
                                                                   42


  1   from the filing of the complaint, of the new complaint.

  2               THE COURT:   All right, thank you.      We'll take as

  3   many concessions as --

  4               MR. SHADOWEN:    That's the only one.     Enjoy that

  5   one.   We appreciate it.

  6               MR. MILNE:   Okay, so moving on to Massachusetts,

  7   Your Honor, we had two basic bases for dismissal with

  8   respect to that cause of action, and the first one is that

  9   these plaintiffs' claims, we would submit, are barred by

10    Section 11 of the statute.

11                THE COURT:   Let me pause right there.

12                MR. MILNE:   Sure.

13                THE COURT:   I thought I sensed in the briefs

14    another concession.      Are you suing under Section 11?

15                MR. MILNE:   Section 11 and Section 9, I believe.

16                THE COURT:   Well, I think Section 11 and

17    Section 9 come up in the complaint, but maybe I

18    misinterpreted the briefs.       I thought your argument was

19    we're not really pursuing Section -- maybe that was

20    Humana's brief.

21                MR. RABINOVITZ:    Yes, Humana is pursuing

22    Section 9.

23                THE COURT:   I'm sorry, okay.     All right.     Thank

24    you.

25                MR. MILNE:   So the issue here, Your Honor, is
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 43 of 82
                                                                   43


  1   your entitlement to sue under Section 9.        I mean, the way

  2   it works is Section 11 is the only vehicle available under

  3   the Massachusetts law for a business, as defined under the

  4   law and rules, an entity in trade or commerce, to bring an

  5   action under the statute.      If you are not a business, if

  6   you don't satisfy that test, then you can and you must

  7   proceed under Section 9.      The difference is that under

  8   Section 9 there is no bar to indirect purchasers bringing

  9   an action.    If you're a business and you're proceeding

10    under Section 11, there is a bar to an indirect purchaser

11    bringing a cause of action.      So the concession that

12    they're bringing their claim under Section 9 isn't really

13    a concession; it's a position that they're taking, and we

14    believe that it's an incorrect position.

15                So the question is, these plaintiffs, are they

16    businesses, are they engaged in trade or commerce, or are

17    they something else?     Are they consumers?      And the

18    courts -- and if we could just go to the next slide

19    here -- the courts have set out factors to consider with

20    respect to determining whether an entity is a business, is

21    in trade or commerce, and so the distinction is, as laid

22    out in the Frullo case, is whether a party, on the one

23    hand, has undertaken a transaction, the transaction in

24    question that's being challenged for business reasons, or,

25    on the other hand, has engaged in it for purely personal
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 44 of 82
                                                                   44


  1   reasons such as the purchase of an item for personal use.

  2   So this is getting back to one of sort of the ideas we

  3   were talking about before.      And the Frullo case also talks

  4   about transactions in which a plaintiff is motivated by

  5   business considerations is implicated under Section 11 and

  6   not under Section 9.

  7               So here, certainly as to Humana, but also as to

  8   the 16 named plaintiffs in the class action case, these

  9   are -- they're health plans.       They are not ones who

10    purchase purely for personal reasons; and, therefore, they

11    cannot qualify as nonbusinesses, if you will, to proceed

12    under Section 9.     The Lidoderm case that we cite deals

13    with these same types of entities involved in a class

14    action case, and there the courts dismissed under the

15    Massachusetts law saying, and I'm just reading from the

16    decision here:    The end-payor plaintiffs -- these same

17    types of entities -- did not purchase the products --

18    meaning the pharmaceuticals -- and/or provide

19    reimbursement for those products for their personal use

20    but for the use of their members.       Because those end

21    payors at issue were acting in trade or commerce when they

22    indirectly purchased to reimburse their employees or

23    members, they cannot state a claim under Section 9.

24                In other words, they're forced to go under

25    Section 11 as indirect purchasers; they can't proceed; so
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 45 of 82
                                                                   45


  1   the case is dismissed.      That's what the Lidoderm court

  2   held.

  3               Now, the plaintiffs, they focus on a decision

  4   coming out of the AWP litigation in which the district

  5   court there looked at various types of entities similar to

  6   these and said, Well, if you're a charitable organization

  7   and you're operating within your core charitable function,

  8   you may not qualify as being under Section 11.         You may be

  9   able to proceed under Section 9.

10                Now, here -- and if we could go to the next

11    slide -- here the claimed -- there's no pleading -- the

12    pleading in this case evinces nothing of this.         In order

13    to avoid -- these are entities on their face are

14    interacting in -- I mean, they're buying drugs; they're

15    reimbursing; they're functioning as insurance providers

16    for their members; and Humana is clearly a large, large

17    commercial insurance company.       In order to be able to

18    qualify for treatment as a charity, they would have to

19    meet their Twombly standard of saying this function --

20    making it plausible that whatever it is they're claiming

21    here is so critical to their core function that -- and/or

22    that they qualify as a charity to begin with.         That's

23    certainly not evinced in the class definition in this case

24    where there's no limitation on charitable function,

25    not-for-profit status or anything of the like.         There's no
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 46 of 82
                                                                        46


  1   pleading whatsoever on this.       And so -- it's not enough

  2   just to say we're a Taft-Hartley plan or we're authorized

  3   to operate under ERISA because, you know, the

  4   Massachusetts courts have recognized that just the simple

  5   status of being a not for profit or even being a

  6   charitable organization in and of itself is not a free

  7   pass.   You have to be able to show that the conduct in

  8   question was to do -- was really central to your

  9   charitable function, and you can't step outside that when

10    you're facing the marketplace and interacting with third

11    parties.

12                Our basic position here, Your Honor, is that

13    these entities shouldn't qualify.       We would submit that

14    the AWP court got it wrong even entertaining the idea that

15    a Taft-Hartley plan should be viewed analogously with a

16    charity; but even if that were correct, the plaintiffs

17    here need to plead more to be able to establish that they

18    qualify here, and inevitably if they're allowed to, it's

19    going to create huge issues with their proposed class,

20    which is not limited in any way in that respect.             So

21    for-profit insurance companies could be included, and if

22    they want to have a class action, that would encompass all

23    such entities that are ultimately end payors or that

24    reimburse.

25                So for the reason that these plaintiffs can't
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 47 of 82
                                                                   47


  1   qualify under Section 9 and should be viewed as businesses

  2   or at least there's a failure of proof on those issues,

  3   like the Lidoderm decision we would submit that this cause

  4   of action should be dismissed.       That's the first reason

  5   for dismissal.

  6               The second reason for dismissal, Your Honor, and

  7   if we could go to the next slide, is that under the

  8   consumer protection act, there's authority for the

  9   proposition that the challenged acts have to have occurred

10    primarily and substantially within the Commonwealth, and

11    the Fishman case that we cite from the First Circuit also

12    makes the point that where the alleged wrongdoing that's

13    at issue is not focused on Massachusetts but has relevant

14    and substantial impact across the country, the "primarily"

15    prong or aspect of that Massachusetts test can't be

16    satisfied.    And that's exactly what we have here.

17                THE COURT:   The response, as I remember it,

18    was -- and I forget which section, which section was

19    which, but one of these had a national scope and one of

20    them had a local scope, or a statewide scope.

21                MR. MILNE:   One of the provisions of the --

22                THE COURT:   Yes, Section 9, I think, or

23    Section 11, one of them the argument was would have been

24    permitted to apply nationwide.

25                MR. MILNE:   Well, Your Honor, if one is
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 48 of 82
                                                                   48


  1   permitted to sue under Section 9, this provision would not

  2   apply.   We don't believe that these plaintiffs are

  3   permitted to sue under Section 9.

  4               THE COURT:   Okay, so this is a Section 11

  5   limitation.

  6               MR. MILNE:   Basically a Section 11 issue, Your

  7   Honor.

  8               THE COURT:   Okay.

  9               MR. MILNE:   There are two independent reasons

10    why dismissal is appropriate, is they are indirect

11    purchasers and they can't claim that the conduct is

12    primarily focused on --

13                THE COURT:   Okay.

14                MR. MILNE:   -- the Commonwealth.

15                THE COURT:   Perhaps we should hear from both

16    groups of defendants.      I think this argument kind of plays

17    over.

18                MR. SHADOWEN:    Your Honor, Section 9 applies,

19    and that's the provision that we're proceeding under.

20    Judge, this distinction between consumers under Section 9

21    and businesses under Section 11 was sort of famously

22    difficult in Massachusetts law.       Thankfully, we have Judge

23    Saris, a very capable jurist in Massachusetts, who sorted

24    through all this very, very carefully in the AWP case; and

25    specifically with respect to Taft-Hartley plans, providing
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 49 of 82
                                                                    49


  1   drug benefits to their members, exactly what we have here,

  2   she said this is not a Section 11, it's        Section 9.     And

  3   she went through it chapter and verse, and if they want us

  4   to plead more about Taft-Hartley, I don't know what more

  5   we could plead.     That's what Taft-Hartley funds do.        The

  6   name of the fund in Massachusetts is the Pipefitters Union

  7   Local Number 537 Health and Welfare Fund.         That's all they

  8   do.   They exist for the purpose of providing these sorts

  9   of benefits to their members, and that's all by statute

10    they can do.    So we allege that they are Taft-Hartley

11    funds.   They are Taft-Hartley funds.       Taft-Hartley funds

12    are under Section 9.     Now, we'll let Humana talk about

13    their situation.

14                THE COURT:   Okay, thank you.

15                MR. RABINOVITZ:    Thank you, Your Honor.        Uriel

16    Rabinovitz from Lowey Dannenberg for Humana.         Just on

17    Massachusetts, so I think what we've heard so far is that

18    Section 9, Section 11 are mutually exclusive, can only be

19    under one.    Humana, as we made clear, is under Section 9.

20    The first thing I would point Your Honor to is the text of

21    Section 9 begins with "any person," other than someone

22    under Section 11, any person.       First thing I would note is

23    that "person" includes corporations.        So it's clearly --

24    you know, there's clearly a scenario where corporations

25    are purchasers under Section 9.       We think we fit very well
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 50 of 82
                                                                   50


  1   under that model.     The question before the Court is

  2   whether Humana engages in trade or commerce under

  3   Section 11.    There's no doubt that we do engage in trade

  4   and commerce generally, but not in the scope of what we

  5   pay for the drug.     Our trade is to have self-funded plans

  6   and fully insured plans, and we market ourselves and

  7   recruit them and sell our product and our business to

  8   them.   Once we've already been engaged with them, at that

  9   point we're purchasers.      When someone -- when a member,

10    one of our members, goes to the pharmacy counter, they

11    take out their card; they pay $20; we pay $80 right then

12    and there.    For $100 Aggrenox, $20 is the member, $80 is

13    Humana.

14                Defendants use the language of we are

15    reimbursed, implying that there's some kind of after the

16    fact, that we're not the point of purchasing.         Maybe that

17    was the case years ago when a member would go to the

18    pharmacy and then have to submit a receipt to get money

19    back.   That's not the case anymore with the way electronic

20    records are kept.     He goes to the pharmacy, and we pay at

21    that point $80.

22                The definition of trade and commerce -- and this

23    is in Section 1 of Chapter 93 -- focuses on who offers to

24    resell.   We're not offering to resell Aggrenox.        We

25    purchase Aggrenox, we pay for it for our member as we
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 51 of 82
                                                                   51


  1   contract with our member, pay for their prescription

  2   drugs, including Aggrenox, and they consume it.         The trade

  3   or commerce is not happening at that point.         We're not

  4   offering to resell Aggrenox then to someone else to make a

  5   profit on it.    We pay for it because that's what we've

  6   contracted to do.

  7               The next thing I would point to is that -- and

  8   this applies to all the states that we're talking about

  9   here -- is that we're not going on a blank slate here.

10    There have been cases in the past, reverse selling cases

11    that have been going on for 15, 16 years now.         In

12    Massachusetts, in at least two that we could find, in

13    Relafen, which is Judge Young in Massachusetts, who's

14    acutely aware of the dichotomy of Section 9 and Section

15    11, allowed -- certified a class of end payors including

16    consumers and TPPs under Massachusetts law, and he cited

17    the Ciardi case, that was referenced but maybe not

18    mentioned, that found that Illinois Brick is not a bar

19    under Section 9.     So he clearly was going under Section 9

20    because he certified an indirect class, and under

21    Section 11 that couldn't happen under Ciardi, and under

22    Section 9 he allowed TPPs to be certified for a class of

23    prescription drugs.     He found it was within the statute as

24    any person, even a corporation, because in the purchase of

25    prescription drugs, Humana TPPs are consumers.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 52 of 82
                                                                    52


  1               The next one I would just make is, you know,

  2   there's a strong policy argument on this.         As I just

  3   described, we call it a dual purchaser, a two-headed

  4   purchaser on our papers, right?       There's $80, $20 at the

  5   same time.    It would be a great anomaly that the $20, like

  6   Ms. Ciardi in the Ciardi case, is allowed to collect, but

  7   the $80 on the same transaction is not recoverable.           And

  8   if you find a violation and you find an egregious wrong

  9   that the $20 must be returned to the purchaser, defendants

10    in such cases can get away with $80; that's theirs.

11    There's an imbalance here that, well, it's the same

12    purchase; you have $20 are covered, but $80 are not.           We

13    don't think that adds up.

14                And just to respond to the last point of

15    primarily and substantially Massachusetts, that doesn't

16    apply to us.    That's only a limitation, as Your Honor

17    referenced, to Section 11.      It's not a limitation to

18    Section 9.

19                And the last thing I would just address is

20    Lidoderm.    We're eminently familiar with Lidoderm.         We are

21    counsel to Government Employee Health Association, one of

22    the TPP plaintiffs in Lidoderm.       We argued this

23    Massachusetts point to Judge Orrick out there.         We think

24    respectfully that he got it wrong.       You know, I note I a

25    little bit of humor, I guess, or irony that he also found
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 53 of 82
                                                                   53


  1   portions of Your Honor's decision of a motion to dismiss

  2   also, you know, he didn't agree with, so reasonable and

  3   educated minds can disagree.

  4               THE COURT:   He's not the first.      Won't be the

  5   last.

  6               MR. RABINOVITZ:    I'll ask if Your Honor has any

  7   questions for us.

  8               THE COURT:   No, I understand.     Thank you.

  9               MR. RABINOVITZ:    Thank you.

10                MR. MILNE:   Your Honor, with respect to the AWP

11    decision, I would just note that, number one, we disagree

12    with the Court's conclusion that -- the district court's

13    conclusion in the AWP case.      I will note that that

14    issue -- the opinion, the decision of the District Court

15    did go up to the First Circuit, and the First Circuit

16    didn't reach this specific issue, but in commenting on it

17    and describing it, the Court, if you will, I would say

18    commented negatively on the Court's -- the District

19    Court's conclusion that sort of a fortiori, after

20    analyzing much more closely a Blue Cross/Blue Shield

21    entity that was a creature of -- a statute created it and

22    very much more clearly a charitable institution, the Court

23    then said, the First Circuit said:       And then the Court

24    without any significant explanation just said a fortiori,

25    a Taft-Hartley plan, we'll treat the same way.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 54 of 82
                                                                   54


  1               So I think there's room to think that the AWP

  2   court did not engage in the kind of analysis necessary to

  3   determine whether those entities, those, say, Taft-Hartley

  4   entities should qualify as charitable entities for

  5   purposes of this consumer protection argument.         And I

  6   would also note that not all of these -- there are 16, I

  7   believe, 16 named plaintiffs -- not all of them even

  8   allege that they're Taft-Hartley plans.        So there's not

  9   even uniformity in pleading with respect to those named

10    plaintiffs let alone the members of class.

11                To the argument that was made about Humana being

12    present at the point of sale, I would just note Lidoderm,

13    again, and let me just -- there are a couple of decisions

14    in that case, the Lidoderm decision from 2015, which I

15    believe is cited in our briefs, 2015 Westlaw 28 -- 2089223

16    considered the very issue that counsel raised, and the

17    Court sort of described the argument that this particular

18    entity, GEHA, asserts that it was not engaged in trade or

19    commerce when purchasing or reimbursing its members

20    because it was acting as a dual end payor along with its

21    plan members in consumer retail transactions, so basically

22    the point that, you know, you bring your card in and

23    there's a transaction.      The Court says, However, because

24    GEHA did not engage in the transaction for its own purely

25    personal reasons but instead acted in its business
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 55 of 82
                                                                   55


  1   interests of providing healthcare coverage for its

  2   members, I find the GEHA's purchases were for business

  3   reasons that fall within the business or trade exception

  4   and basically governed by rule -- Section 11.

  5               The Relafen decision, Your Honor, Judge Young

  6   never considered -- the argument was a class action

  7   determination and not a consideration of the implications

  8   of Section 11 of the Massachusetts law.        It was just a

  9   generalized class certification decision.         So we would

10    submit that the Massachusetts claim should be dismissed on

11    the two reasons that we lay out and have discussed here.

12    So unless Your Honor has more questions, I would move on

13    to California.

14                THE COURT:   Sure.

15                MR. MILNE:   So California, I would just note

16    there are California Cartwright Act claims here, antitrust

17    claims here which we are not moving against, and so this

18    group of class plaintiffs is going to be proceeding under

19    their Cartwright Act claim in any event.        What we're

20    focused on here is the unfair competition law claim, 17200

21    under California code, and that claim, Your Honor, should

22    be dismissed for failure of these plaintiffs to allege the

23    proper causal nexus between the claimed wrongdoing and

24    their harm.    And key to this analysis is this

25    Proposition 64, which was enacted by the voters of
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 56 of 82
                                                                   56


  1   California and became effective in 2004.        And

  2   Proposition 64, its purpose was to limit standing of

  3   plaintiffs to bring actions under the unfair competition

  4   law, and what it said was -- before it was a much more

  5   open-ended, you barely needed to plead injury at all --

  6   but what it said was that in order to have standing, you

  7   had to have suffered injury in fact, lost money or

  8   property as a result of the claimed unfair competition,

  9   the challenged conduct.

10                And it's clear in the case law that

11    Proposition 64 applies to all prongs of the unfair

12    competition law, not just to the unfairness prong or any

13    particular prong, and California courts have said two

14    things, and in particular this Durell case that we cite.

15    First of all, they've said that because it's clear that

16    this overriding purpose of Proposition 64 was to impose

17    limits on private enforcement of actions under the

18    statute, courts -- and the Court's clear -- must construe

19    the phrase "as a result of" in light of that intention.

20    So you have to kind of have that as your mindset, that the

21    citizens of California have said, We want to limit who

22    gets to bring causes of action.       And in the Durell case,

23    the Court rejected the argument that that "as a result of"

24    language, that bringing in of the causal linkage

25    requirement could be satisfied by merely alleging a
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 57 of 82
                                                                   57


  1   factual nexus between injury and claimed wrongdoing.          So

  2   just saying the defendant did something bad, it affected

  3   me, I paid more or I didn't get a quality product,

  4   whatever it may be, that's not enough.        Something more

  5   needs to be pled and ultimately proven.        And --

  6               THE COURT:   Help me understand that because it's

  7   fairly classic causal connection here.        They did something

  8   bad, and I suffered economic harm.       What more would be

  9   required?

10                MR. MILNE:   Well, I would say I would agree with

11    that analysis under the Cartwright Act, that is, the kind

12    of causal and it has to be antitrust injury and all that;

13    we would dispute that here --

14                THE COURT:   Right.

15                MR. MILNE:   -- but under the Cartwright Act, I

16    agree with you.     Under the unfair competition law, the

17    courts have said just mere causal connection isn't enough.

18    Now, the courts are not clear.       There are dozens, hundreds

19    of unfair competition law decisions in California, and I

20    can't say that it's all uniform and totally a discernible

21    or bright line rule; but in the context of claims

22    involving some form of deception or misleading or the

23    like, the courts have very clearly said you've got to have

24    some form of reliance; you know, that the wrongdoing has

25    to -- you have to have relied in some manner to your
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 58 of 82
                                                                   58


  1   detriment on misrepresentation or the like.         But to be

  2   sure, the courts have said that not every cause of action

  3   would qualify for a reliance type standard and the

  4   plaintiffs point out with gusto those kinds of parts of

  5   California opinions.     But I'm not aware of any case that

  6   specifically deals with a situation like this.         I mean,

  7   the unfair competition laws in California do contemplate

  8   that antitrust wrongdoing can be a cause of action, but

  9   I'm not aware of a case where under the unfair competition

10    law, you know, the courts have laid out exactly what that

11    causal nexus needs to be, especially where the -- if it's

12    price fixing, surreptitious price fixing and you had to

13    pay too much, I think it's easier to conclude, well,

14    that's, you know, more like an antitrust causal connection

15    is appropriate.     But here where we have a situation of, as

16    I've said before, a publicly announced settlement

17    agreement, you don't have any customer facing

18    misrepresentations, it's not secret, backroom antitrust

19    wrongdoing, we do have the California court saying

20    generally speaking mere causal link isn't enough, what is

21    appropriate here?     And we would submit that it's something

22    more than just straight, you know, a mere factual nexus,

23    that it's got to be something more.

24                Now, the courts -- like I say, I haven't seen a

25    court that's really grappled with that issue, and we would
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 59 of 82
                                                                   59


  1   submit Your Honor should do that, and that particularly

  2   since these plaintiffs are going to get their day in court

  3   under California law under the Cartwright Act, we

  4   shouldn't be doubling up in a situation where there is a

  5   very debatable question or a serious lack of an

  6   appropriate causal link for the unfair competition law.

  7               THE COURT:   Okay.

  8               MR. SHADOWEN:    I think you just heard the second

  9   concession of the afternoon.       That one was a little longer

10    than mine.    So their brief said that the standard is we

11    had to prove reliance.      That clearly can't fly.     Even

12    under the Durell case that they cite, the Court very, very

13    carefully says this reliance element applies only to those

14    sorts of claims that are under the fraud prong of the

15    statute; specifically, expressly, very, very carefully

16    saying that doesn't apply under the unfair competition

17    prong of the statute.

18                So, okay, the voters in California adopted

19    Proposition 64 that said you have to show that the injury

20    was a result of the bad conduct.       To my mind, that sounds

21    a whole lot like Section 4 of the Clayton Act that says

22    the people get to sue for damages in antitrust law if they

23    are harmed by reason of anything forbidden in the

24    antitrust statutes.      It's the same standard.     So I think

25    Your Honor had it exactly right.       "As a result of," this
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 60 of 82
                                                                   60


  1   is a classic antitrust situation where they fixed prices,

  2   it raised the price, our plaintiffs purchased the product,

  3   what more is there to it?      So their argument in their

  4   brief about reliance, I understand them to be, you know,

  5   not pressing that today, and I think wisely so as a result

  6   of Durell.    He never answered your question about what is

  7   the standard other than to say it's something more.          I

  8   think the answer is right in the antitrust statute,

  9   Section 4 of the Clayton Act.       "By reason of" is the same

10    thing as "as a result of."       There's no California court,

11    no other court who puts any other higher burden than that.

12                There are two post-Prop 64 antitrust type cases

13    brought under the unfair competition prong of the consumer

14    fraud statute in California.       That's Processed Eggs in

15    2012 and Ditropan in 2007.       They're cited in our brief,

16    and they both say it's the ordinary standard for

17    causation, just like in an antitrust case and that the

18    plaintiffs can proceed.      I think that's it.     Proposition

19    64 requires causation, not reliance.

20                THE COURT:   Okay.

21                MR. MILNE:   Your Honor, with respect to

22    California, the reason we cited the reliance type case law

23    is precisely the one I mentioned earlier, is that we don't

24    have -- we don't have -- really, like I say, I'm not aware

25    of any case that really grapples with that causal -- that
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 61 of 82
                                                                     61


  1   causality requirement, particularly in light of Durell,

  2   which, like I say, rejected that strict factual nexus as

  3   being enough in light of Proposition 64.        The Court didn't

  4   say how you apply that in every possible manifestation of

  5   a cause of action under 17200, but -- but -- and you

  6   didn't hear Mr. Shadowen say that they've alleged anything

  7   more than that, so our position is that something more is

  8   needed, whether it amounts to full reliance or something

  9   less than that, but particularly where you don't have

10    antitrust wrongdoing that's in secret -- again, we don't

11    think there was antitrust wrongdoing at all and we'll

12    prevail on the merits ultimately, but where that's the

13    claim and there is no claim of -- that the conduct itself

14    involved misrepresentation, that it was in secret, that it

15    was per se unlawful conduct, under the concept of

16    Proposition 64 something more should be required.

17                So with that, I'll move on to Florida.           And if

18    we could advance the slides here.       So here we're focusing

19    on the Deceptive and Unfair Trade Practices Act claim, and

20    Florida is another situation where the state has not

21    enacted an Illinois Brick repealer, so indirect purchasers

22    are not permitted to bring antitrust -- bring a cause of

23    action under the state antitrust law in Florida.             So here

24    again the plaintiffs are just recasting what's plainly an

25    antitrust case and trying to call it a consumer protection
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 62 of 82
                                                                     62


  1   or unfair trade practices act claim.        And our position is

  2   that in order for them to do that, Florida is not a state

  3   like Illinois that focuses on deception and the like, so

  4   we're not making that argument, but what we are saying is

  5   that the courts are clear in Florida that pleading with

  6   particularity is required.      And if we could just advance

  7   the slide.    So a Rule 9 specificity is required.           And our

  8   position is that here the plaintiffs -- they've alleged --

  9   we're not going to stand before you and say they haven't

10    alleged a lot of detail about the transactions that

11    they're challenging, clearly they have, and much of that

12    was in the public domain, so there was no secret about it,

13    and there is a lot of detail in the complaint, but what's

14    lacking is why is that -- you know, plausible facts to

15    help us understand why that is a consumer protection act

16    issue versus an antitrust issue, because if it's an

17    antitrust issue, that is barred to these indirect

18    purchasers under Florida law.

19                THE COURT:   But it can be both.

20                MR. MILNE:   Pardon me?

21                THE COURT:   It can be both antitrust and --

22                MR. MILNE:   It can be, but I think with that

23    requirement of pleading with specificity that Florida does

24    impose, we would submit it puts more of an onus on the

25    plaintiffs to explain why the conduct that would otherwise
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 63 of 82
                                                                   63


  1   be not permissible under the antitrust law should qualify

  2   here.

  3               THE COURT:   Does that rule of state procedure

  4   apply here?    Why wouldn't Rule 9 of the federal rules

  5   govern and require specificity with respect to --

  6               MR. MILNE:   I guess I would say probably Rule 9

  7   of the federals then should apply.

  8               THE COURT:   Well, maybe it does, but isn't that

  9   the rule that I would have to look to?

10                MR. MILNE:   I have to confess, Your Honor, I

11    haven't analyzed this from the Shady Grove perspective,

12    and the plaintiffs didn't make that argument, and we'd be

13    happy to address that, but, you know, our basic position

14    is that given the intention of Florida, that causes of

15    action under this statute be pled with specificity, that

16    that requirement should carry over into a federal court

17    version of that --

18                THE COURT:   Okay.

19                MR. MILNE:   -- that statute.

20                THE COURT:   All right.

21                MR. SHADOWEN:    Your Honor, I'm not aware of any

22    decision that says that claims sounding in competition

23    cannot be brought under the Florida consumer protection

24    statute, and we have three cases, the Suboxone, Wellbutrin

25    XL and Processed Eggs decisions that say that they can't.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 64 of 82
                                                                   64


  1   There are cases outside of antitrust-type cases that say

  2   that especially when there's fraud and misrepresentation

  3   are the predicates for the claim, there's a trend in the

  4   case law in Florida of requiring specificity in pleading.

  5   That simply doesn't apply here.       The claim doesn't sound

  6   in fraud and misrepresentation; it sounds in unfair

  7   competition.    And if Rule 9 did apply, we met it in

  8   spades.   We have a 70-page complaint, chapter and verse as

  9   to what they did that's anticompetitive.

10                In their brief they complain that we

11    incorporated by reference when we got to the individual

12    state pleading the claims.       We say, you know, as we

13    alleged in the foregoing, you did the following wrong, and

14    they complained about that, but they are clearly on notice

15    as to what it is we're complaining about here.         Paragraph

16    205 of the complaint says we're complaining about your

17    price-fixing conspiracy.

18                THE COURT:   Okay.   Thank you.

19                MR. RABINOVITZ:    Your Honor, if I may?

20                THE COURT:   Sure.

21                MR. RABINOVITZ:    I would just add a couple of

22    points to what Mr. Shadowen said.       First, we agree with

23    Your Honor that Rule 9, what Florida courts say about

24    pleading requirements wouldn't apply here.         It's

25    completely procedural.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 65 of 82
                                                                   65


  1               In the motion to dismiss, Your Honor, I'm

  2   quoting now:    The facts of the Aggrenox litigation as they

  3   appear in this pleading are virtually identical in

  4   essential respects to those of Actavis.

  5               Actavis was an FTC act.     It was an antitrust

  6   case.   We view Florida as a -- there's really a case right

  7   on point.    In Mack, which is an intermediate appellate

  8   decision in Florida, the Court goes through what is --

  9   quotes the statute, what's an unfair method of

10    competition, and notably in Section 2 -- I'm looking now

11    at Florida statute 501.204, unfair methods of competition

12    is unconscionable act...hereby declared unlawful.

13    Number 2:    It is the intent of the Legislature that in

14    construing the subsection (1), due consideration and great

15    weight shall be given to interpretation of the Federal

16    Trade Commission.

17                The FTC, in the supreme court case we cite on

18    this, the FTC says that unfair methods of competition

19    include antitrust violations.       Your Honor, I said this

20    case is on all fours with Actavis.       The FTC brought that

21    case under the FTC Act.      This is an antitrust case, and

22    the Florida court on point said that our statute, because

23    it adopts the FTC Act, encompasses violations of antitrust

24    laws.   And I would just add what we point out in the

25    footnote, that it's not the Florida supreme court, but the
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 66 of 82
                                                                   66


  1   supreme court says in the absence of a decision from the

  2   highest court -- and this is Fidelity v. Union Trust from

  3   1940 -- that the federal court under Erie looks to the

  4   intermediate court of that state, and it must be followed

  5   by federal court in deciding a state question.         So Mack is

  6   on point, and our position is it really has to be

  7   followed.

  8               THE COURT:   All right.     Let me just give you a

  9   little notice.    I'm going to raise, when we get to the

10    injunctive relief issue, I'm going to raise an issue with

11    you that really isn't contemplated in the briefs, so I

12    want to give you a minute to think about it.         It's this:

13    If I conclude that the injunctive relief claims are moot,

14    is there subject matter jurisdiction over claims brought

15    by Humana, because the federal question hook would be

16    gone.

17                MR. RABINOVITZ:    Right.

18                THE COURT:   You don't have complete diversity,

19    and you've opted out of the CAFA class.

20                MR. RABINOVITZ:    That's right.

21                THE COURT:   So I'll be interested in hearing.

22                MR. RABINOVITZ:    Okay, we'll contemplate that.

23                THE COURT:   Okay.

24                MR. RABINOVITZ:    Thank you, Your Honor.

25                MR. MILNE:   *** start proof I'll just finish off
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 67 of 82
                                                                   67


  1   Florida, Your Honor.     I would submit that the authority

  2   that the Court should follow here is that discussed in the

  3   Russell Union case that we cite, which in turn cites --

  4   well, it cites federal courts that are referencing Florida

  5   law, but which makes clear that courts construing claims

  6   under the Florida Deceptive Trade Practices Act claim

  7   impose this requirement of heightened pleading, and it is

  8   not limited -- there's nothing in this language that would

  9   suggest that it's limited to claims sounding in fraud or

10    some other subset of claims under -- so the -- obviously

11    the Actavis decision did not address the pleading

12    standards under Florida law.       Even though Florida looks to

13    the substantive standard of the Federal Trade Commission

14    Act, it doesn't speak to the pleading standards at all.

15                So, Your Honor, moving on here, the last issue

16    that we have with respect to the -- we have an issue with

17    respect to the Vermont claim brought by Humana only, but

18    the last issue that we have with respect to the indirect

19    purchaser class complaint is the injunctive relief issue,

20    and as Your Honor knows, our position is that given the

21    fact that in these complaints the alleged thing that

22    didn't happen in the marketplace that should have happened

23    in the marketplace sooner, that is, the entry of

24    Barr/Teva's generic and/or the entry of an authorized

25    generic from Boehringer, both of those events have
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 68 of 82
                                                                    68


  1   occurred, and as a result of that, a claim for injunctive

  2   relief is mooted because the plaintiffs cannot satisfy the

  3   standard that basically says you have to show a

  4   probability of future harm, of conduct that can be

  5   enjoined leading to future harm.       And they can't do that

  6   here.   This whole case is about alleged delay in the entry

  7   of those two types -- those two generic products.            They

  8   are now in the marketplace.      We can fight about whether

  9   it's a violation, whether those agreements are a violation

10    at all, and if so, what are the retrospective damages or

11    even if there's some, you know, as I know was discussed at

12    the last hearing, is there some lingering effect which I

13    understand is a position that the plaintiffs will take,

14    you know, the market will not have reached equilibrium for

15    some period of time.     That is a question that can be

16    fought over in the litigation.       It has nothing to do with

17    this court enjoining conduct, make the generic come on the

18    market.   In essence, that's what -- if there's injunctive

19    relief to be had here, it's hard to see what it would be

20    other than that.     Bring the generic on.

21                Now, I'm not saying that relief like that would

22    be -- we would fight over that because obviously there are

23    requirements and the like for ordering injunctive relief,

24    but in the most extreme case that's what we're talking

25    about, and that is -- you know, that's mooted out now by
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 69 of 82
                                                                    69


  1   the fact that these products are on the market.

  2               So that's our position in a nutshell, Judge.           If

  3   you have any questions, I'm happy to address.

  4               THE COURT:     Well, is there open and free

  5   competition in the generic market at this point?

  6               MR. MILNE:     Yes.

  7               THE COURT:     Anybody that wants to come out in

  8   generic?

  9               MR. MILNE:     Well, there is certainly no

10    restraint on any competition in the generic market caused

11    by the agreements that are being challenged here.            The

12    only -- the only thing that limits any other generic from

13    coming into the marketplace is its ability to get

14    approval, status of patent litigation that may be going on

15    between that generic and patent holders.        So in terms of

16    is there any limitation on competition caused by what's

17    challenged here?     No.

18                THE COURT:     Okay.   All right.

19                MR. SHADOWEN:    Very briefly, Your Honor.       When

20    these complaints were filed, Teva had taken the position

21    that there was a no-AG clause in the agreement that

22    Boehringer was bound to respect.       Boehringer disagreed.

23    Now within the last month something has occurred in the

24    marketplace.    The plaintiffs have not had discovery into

25    what that something is.      They contend that there's been
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 70 of 82
                                                                   70


  1   full and free entry into the market.        We don't know as we

  2   stand here today whether or not there is vigorous

  3   competition, whether there's sham competition, whether

  4   there's something in between.       We simply don't know.     What

  5   we do know is that there was a raging antitrust violation

  6   here that was alleged and that we were entitled to

  7   discovery into, and that's what we would like to do, is to

  8   get some discovery as to what exactly is going on in the

  9   market.    So I think it would be premature, to say the

10    least, to dismiss the injunctive relief claim at this

11    moment.

12                THE COURT:   Well, let me try to distinguish

13    between the injunctive relief claim that was brought and

14    some other injunctive relief claim that might some day be

15    brought.    The one that was brought appears to have been

16    mooted out by the appearance of the generic, and so what

17    you're basically saying is we might have some other

18    injunctive relief claim that we want to bring, don't stop

19    us from bringing that claim.       You haven't brought it yet.

20    Is that fair?

21                MR. SHADOWEN:    Respectfully, no, I don't think

22    that it is, on two grounds.      One, we complained in the

23    injunctive relief count with respect to the withholding of

24    an authorized generic into the market.        They say that that

25    has happened.    We say we don't know as we stand here today
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 71 of 82
                                                                   71


  1   without discovery whether and to what extent that has

  2   happened.    So even with respect to the specifics that we

  3   put around our claim of injunctive relief, we think that

  4   that is not moot.

  5               THE COURT:   Well -- okay.     Let's take a look at

  6   your complaint.     I mean, if you look at page 64, your

  7   demand for judgment, the only injunctive relief you claim

  8   is you demand a judgment that enjoins defendants from

  9   continuing their illegal activities.

10                MR. SHADOWEN:    Yes.

11                THE COURT:   Right.     So the illegal activities

12    that I understood you're complaining about there was the

13    settlement that delayed the introduction of the authorized

14    generic.

15                MR. SHADOWEN:    That is correct.

16                THE COURT:   So if an authorized generic has

17    actually been introduced, as the defendants claim and as

18    they claim the FTC website shows, what is the -- I think

19    you said something about the extent of the --

20                MR. SHADOWEN:    Yes.

21                THE COURT:   -- generic, what does that matter?

22                MR. SHADOWEN:    Yes, so let me get very specific.

23    So let -- I'm not saying this happened; I say we want

24    discovery into whether and to what extent it happened.

25    These people, we say, were in a conspiracy.         Now they're
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 72 of 82
                                                                     72


  1   in a lawsuit with a spotlight shining on them, and the

  2   date comes for entry of the generic.        One possible thing

  3   that could have happened is they say, We better get some

  4   generic product out into the market to look good in the

  5   litigation.    And so they come in with not -- you know,

  6   instead of actively, affirmatively, fully marketing the

  7   way they would if there were no unlawful agreement, they

  8   come in with something less than that that they've agreed

  9   to among themselves.

10                Has that happened?     I don't know.    I would like

11    to get discovery into whether that is happening, what

12    exactly the circumstances were in which the generic entry

13    occurred.

14                THE COURT:   Right.    But that's an allegation you

15    haven't yet brought.     In other words, the complaint as

16    pled doesn't say in order to circumvent or to create an

17    improper impression that everything was copacetic, they

18    kind of introduced a fake or a halfhearted generic onto

19    the market.    We don't have that allegation here.           I'm not

20    saying you can't bring it; I'm just saying it's not there.

21    So what I don't see is that there's anything left to the

22    injunctive relief claim that was actually brought, and you

23    may want to amend or whatever, but that's the distinction

24    I'm trying to draw, is what's in the complaint versus what

25    you might bring some day in the future.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 73 of 82
                                                                   73


  1               MR. SHADOWEN:    Well, in our view, "to enjoin

  2   defendants from continuing their illegal activities," the

  3   illegal activities were the unlawful agreement that they

  4   reached.    We think fairly read that would encompass any

  5   sequela of that agreement, but I hear you saying you

  6   want --

  7               THE COURT:   You're basically positing that

  8   there's a second illegal agreement that they've said,

  9   Let's pretend to introduce a generic to reduce the

10    pressure on us in this case, and so we'll, even though we

11    want to maintain our illegal monopolistic position, we're

12    going to announce that we have a generic, and we're going

13    to do a halfway job of trying to let people know --

14                MR. SHADOWEN:    And we would like discovery into

15    whether that occurred, but I hear you saying that you've

16    got to plead it first specifically.

17                THE COURT:   Right.

18                MR. SHADOWEN:    Fair enough.

19                THE COURT:   Yes, and I assume the discovery you

20    would need to look into that is going to occur as a

21    practical matter on your other claims, on your damages

22    claim.

23                MR. SHADOWEN:    I think that's right.

24                THE COURT:   Okay.

25                MR. SHADOWEN:    Thank you.
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 74 of 82
                                                                   74


  1               THE COURT:   All right.    Humana wants to be

  2   heard.

  3               MR. ST. PHILLIP:    Your Honor, Peter St. Phillip

  4   from Lowey Dannenberg.      I I have much to say in connection

  5   with the injunction claim beyond what Mr. Shadowen said.

  6   The injunctive relief that we plead, however, goes a

  7   little bit beyond just enjoining the conduct but to invoke

  8   the Court's equitable jurisdiction under the Sherman Act

  9   to prevent future harm, future similar harm.         There have

10    been cases, obviously merger cases and others, where the

11    courts have put -- and Microsoft is an example, of course,

12    where under the Sherman Act the courts found violations

13    and have structural impositions with respect to that

14    violation.    We think the injunctive power of this Court

15    under the antitrust laws can allow this Court to do that,

16    so we think that has not been mooted.

17                And I'll just leave that argument there and go

18    to the question of subject matter jurisdiction that Your

19    Honor raised.    If you recall, Humana filed this case first

20    as a class action.     The first amended complaint, we had

21    the arguments about lead counsel and we decided to proceed

22    individually.    So at the institution of the action -- and

23    I don't recall standing here today whether we invoked

24    CAFA, but to the extent that we did, the question that I

25    have not focused on is whether subsequent events such as
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 75 of 82
                                                                   75


  1   the movement of the injunction claim and how those events

  2   affect subject matter jurisdiction, which is traditionally

  3   evaluated at the beginning of the action, I know that

  4   there's sometimes events that can occur that can divest

  5   the court of that, so I have to brief that or understand

  6   that and give that to Your Honor, and I don't have that

  7   knowledge today.

  8               The other point I would take, the Court, of

  9   course, has discretion to keep the claims under 1367, even

10    in the event that the federal claim has been dismissed,

11    and those are the two points I would make.

12                If Your Honor does agree with the defendants as

13    to the mootness of the injunction claim, and I think, and

14    we said in our brief, the procedural mechanism for that

15    should be based on evidence, we don't think it's proper

16    for a motion to dismiss, the only thing that can be

17    judicially noticed is the fact that the FDA has approved

18    it, so there's no evidence beyond that in the record under

19    Rule 12(b)(6).    But to the extent you disagree with that,

20    we think that -- and we would ask the Court for an

21    opportunity to brief the question if Your Honor does not

22    find it in your discretion to keep the case under the

23    supplemental jurisdiction statute.

24                THE COURT:   Okay.   I'm not sure what, if

25    anything, I'm going to do about subject matter
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 76 of 82
                                                                   76


  1   jurisdiction.    I wanted to raise it --

  2               MR. ST. PHILLIP:    I'm not sure, either, of our

  3   position.

  4               THE COURT:   I guess, thinking out loud, there's

  5   a couple of ways to cure any problem.        One of those is for

  6   you to -- your client to become part of the class again or

  7   to bring your claims as class claims again.         At that point

  8   you get the benefit, I think, of CAFA, and you don't have

  9   to have complete diversity at that point, so --

10                MR. ST. PHILLIP:    That's right.

11                THE COURT:   I'm not suggesting that you're going

12    to be out of this litigation anytime soon, but --

13                MR. ST. PHILLIP:    No, I appreciate --

14                THE COURT:   -- I think it's something you have

15    to --

16                MR. ST. PHILLIP:    I appreciate you raising it,

17    and I think that in the event -- and I don't know what

18    Mr. Milne's position would be, but in the event that Your

19    Honor would agree with the substantive argument that we

20    could brief the question for you at that time.

21                THE COURT:   Sure, sure.

22                MR. ST. PHILLIP:    Thank you.

23                THE COURT:   The only thing I wanted to press you

24    on in terms of the scope of your request for injunctive

25    relief is I don't recall whether there are allegations in
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 77 of 82
                                                                   77


  1   your complaint that would basically give rise to a need to

  2   enjoin, quote, similar anticompetitive conduct, unquote,

  3   in the future.    So that, in other words, if you have a

  4   serial violator, somebody who is repeatedly violating

  5   antitrust laws, then it seems to me that a complaint can

  6   be brought saying they did it here, they did it there,

  7   they're going to do it again, stop them.        And I'm just

  8   thinking out loud again, but maybe some of those

  9   allegations need to be in your complaint if you hope to

10    avoid mootness by arguing that your requested injunctive

11    relief is broader.

12                MR. ST. PHILLIP:    Right.   I assume I understand

13    the Court's view on that.      My belief standing here -- and

14    this has not been briefed by us -- but my belief standing

15    here is there's not a necessity in the legal construct of

16    once you find a violation for a finding of multiple

17    violations for the Court to exercise its equitable power

18    under the Sherman Act and provide whatever --

19                THE COURT:   Oh, fair enough.     At the end of a

20    case, if I find a violation, through a request for relief

21    or such other relief as the Court may enter, I can say

22    you're enjoined from doing this again.        The question is

23    from in a complaint if you're seeking that as an

24    independent basis for an injunction, don't you have to

25    plead enough to give rise to it in your complaint?
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 78 of 82
                                                                   78


  1               MR. ST. PHILLIP:     Well, I think it's a matter of

  2   relief, right, and certainly in our complaint there's not

  3   fulsome discussion of it, but in connection with our

  4   Sherman Act claim, we do plead in our addendum clause that

  5   we would like the Court to assure that similar

  6   anticompetitive conduct does not occur in the future.

  7   That's all the complaint says.       Whether that is

  8   appropriate or not is Your Honor's determination, but we

  9   certainly would like the opportunity to make application

10    for leave in the event a finding has been made by the

11    Court or a jury on that.

12                THE COURT:   Sure.   And in the event that I

13    dismiss as moot the injunctive relief claims, you'll have

14    an opportunity to provide a brief about what impact that

15    has on your client in terms of subject matter

16    jurisdiction.

17                MR. ST. PHILLIP:     I thank you for that, Your

18    Honor.

19                THE COURT:   Sure.

20                (A discussion was held off the record.)

21                MR. MILNE:   I'm virtually done, Your Honor.

22                THE COURT:   Yes, the court reporter has been

23    going for a little over two hours.       I know you've got the

24    Vermont issue, and you've got the issue you mentioned

25    earlier about the claims that were brought for purposes of
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 79 of 82
                                                                   79


  1   reserving appeal.

  2               MR. MILNE:   I mean, we can either take a break.

  3   I'm happy to stand on the papers with respect to the

  4   Vermont, unless you had particular questions.

  5               THE COURT:   I think I'm going to have to sort

  6   through all of this stuff, so I think the briefing is

  7   fine.

  8               MR. MILNE:   It lays out the issues.

  9               THE COURT:   It lays out the issues.

10                MR. MILNE:   I mean, I only have one or two

11    points on the injunctive relief issue, Your Honor, if

12    that's okay.    That will take just a couple of minutes.

13                THE COURT:   All right.    How about two minutes?

14                MR. MILNE:   Okay.   Your Honor, number one, on

15    this question of whether there needs to be some particular

16    discovery as to whether there was some kind of halfhearted

17    authorized generic in the marketplace, I would just simply

18    respond that these plaintiffs are themselves -- they are

19    in the pharmaceutical marketplace, they are out there

20    reimbursing for products for their patients, so they

21    presumably have their fingers on the pulse of what's going

22    on in the market, and if they have some issue, they're

23    more than capable of bringing that to the Court's

24    attention.

25                On the issue of whether there needs to be sort
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 80 of 82
                                                                   80


  1   of fencing-in relief or could possibly be, I would just

  2   note, Your Honor, that cases like Microsoft and I know

  3   last time there was discussion about a consent decree in

  4   an FTC action involving Cephalon, those obviously are very

  5   different situations where there's a negotiated consent

  6   situation.    Here, in a world where -- when these

  7   agreements were entered into, it was a whole different

  8   legal regime.    Now we're dealing with Actavis and what

  9   that means.    There's simply no good faith basis to say

10    that any of these pharmaceutical companies, certainly not

11    my client, needs to be enjoined from doing an agreement

12    that violates the teachings of Actavis.        We're all trying

13    to figure out exactly what Actavis means.         But what we're

14    focusing on in these cases are settlements that were done

15    years and years ago.

16                THE COURT:   Sure.

17                MR. MILNE:   I know that may be for another day,

18    but I just wanted to make that point.

19                THE COURT:   I understand.     Well, thank you all.

20    This was a helpful argument, and I'll get you a decision

21    when I can.    Thank you very much.

22                MR. SHADOWEN:    One housekeeping matter, Your

23    Honor.   You raised the question about possible letter

24    briefs on the cigarette issue.       Would you like those in

25    seven days, ten days or --
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 81 of 82
                                                                   81


  1               THE COURT:    Ten days would be fine.     The better

  2   practice is probably not to do a letter brief but to do a

  3   so-called supplemental brief.       So let's keep them short,

  4   though.   It's a very limited question.       I don't need 20

  5   pages on what Massachusetts has done.        A couple of

  6   citations is probably plenty.

  7               MR. SHADOWEN:    Thank you, Your Honor.

  8               THE COURT:    All right.   Anything further?

  9               (No response.)

10                THE COURT:    Thanks so much.    We'll stand in

11    recess.

12                (4:07 p.m.)

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 3:14-md-02516-SRU Document 387 Filed 10/13/15 Page 82 of 82
                                                                   82




                           C E R T I F I C A T E




                  I, Sharon L. Masse, RMR, CRR, Official Court

      Reporter for the United States District Court for the

      District of Connecticut, do hereby certify that the

      foregoing pages are a true and accurate transcription of

      my shorthand notes taken in the aforementioned matter to

      the best of my skill and ability.




                         /S/ Sharon L. Masse
                        __________________________

                         Sharon L. Masse, RMR, CRR
                          Official Court Reporter
                          915 Lafayette Boulevard
                      Bridgeport, Connecticut 06604
                            Tel: (917) 703-0761
